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            10     Attorney for Plaintiff
                   ANDREW ROBERT GARRAWAY                                       Document#
            11                                                                              ~~
            12                                  UNITED STATES DISTRICT COURT
            13                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
            14                          WESTERN DIVISION(LOS ANGELES COUNTY)
            15                                                                              ~Sh
            16     ANDREW ROBERT GARRAWAY,an                         CASE NO.: 2:19-cv-04056-~-FFM
                   individual,
            17                                                       JOINT STIPULATION OF DISMISSAL
                                 Plaintiff,                                         ~~~~           J
            18                                                       Trial: 1/13/21
                          v.
            19     SAATCHI & SAATCHI NORTH AMERICA,
                   1NC., a Delaware corporation doing business
            20     as TEAM ONE; and DOES 1 through 50,
                   inclusive,
            21
                                  Defendants.
            22

            23 ~                                          STIPULATION

            24             WHEREAS, this Action was removed to the United States District Court for the Central

            25     District of California on May 9, 2019 and Plaintiff Andrew Garraway filed a First Amended

            26     Complaint on December 31,2019 alleging:(1)Discrimination in Violation ofFEHA;(2)retaliation

            27     in violation ofFEHA;(3)failure to prevent discrimination and retaliation in violation ofFEHA;and

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                                                                 1
                                                                                — age
                                                             66314769v.2
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                                                                                          claims for(5)
    1 (4) wrongful termination in violation of public policy. In addition, Employee added

    2   interference with Family and Medical Leave Act("FMLA")and (6) discrimination and retaliation

    3 ~ in violation ofFMLA and dismissed the defamation slander claim.
    4          WHEREAS,on July 28, 2019, Plaintiffand Defendants (collectively "the Parties") and their

    5   respective counsel of record participated in a successful mediation session with the Hon. Susanne

    6 ~ Bruguera.
    7           WHEREAS, the Parties entered into a written settlement agreement, by which Plaintiff

    8   releases all claims and causes of action against Defendants with prejudice, including the claims

    9   asserted by him in this Action;

   10          THEREFORE,PLAINTIFF AND DEFENDANTS HEREBY STIPULATE,by and through

   11   their respective counsel ofrecord, pursuant to Federal Rules ofCivil Procedure 4l(al(11, to dismiss
   12   the above-captioned matter with prejudice. This stipulation and dismissal completely terminates the
   13   above-entitled action against all parties. Each party will bear its/his own attorneys' fees and costs.

   14           The Parties hereto also request that this Court retain jurisdiction in order to enforce the terms

   15   and conditions of the settlement and release.

   16
        ~ Dated: October 26, 2020                       HARLAN LAW,PC
   17
   18

   19                                                   By: /s/Jordon R. Harlan
                                                            Jordon R. Harlan
   20                                                       Attorney for Plaintiff,
                                                            ANDREW GARRAWAY
   21
        ~ Dated: October 26, 2020                       SEYFARTH SHAW
   22
   23
                                                        By: /s/ Michael J. Burns
   24         IT IS SO ORDERED:                                Michael J. Burns
   25                                                          Attorneys for Defendants
              DATED:         ~ 2~                              SAATCHI & SAATCHI NORTH
   26                                                          AMERICA,INC. et al
   27          UNI?ED STATES DISTRICTJUDGE
   28
                                                                           — age
                                                      66314769v.2
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    1                                            ATTESTATION

    2          1, Michael J. Burns, attest that all other signatories listed, and on whose behalf the filing is

    3   submitted, concur in the filing's content and have authorized the filing.

    4   Dated: October 26, 2020
    5                                                  By: /s/ Michael J. Burns
    6                                                         Michael J. Burns

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